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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11   Universal City Studios Productions   )   CASE NO. CV 17-7496-MWF(ASx)
        LLLP, et al.,                        )
   12                                        )   AMENDED
                          Plaintiff(s),      )   ORDER RE JURY TRIAL
   13                                        )
               v.                            )   I.     ORDER RE DEADLINES
   14                                        )
        TickBox TV LLC,                      )   II.    ORDER RE TRIAL
   15                                        )          PREPARATION
                          Defendant(s).      )
   16                                        )   III.   ORDER GOVERNING
                                             )          CONDUCT OF ATTORNEYS
   17                                        )          AND PARTIES
                                             )
   18                                        )   Trial: January 8, 2019
        ______________________________           Time: 8:30 a.m.
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    1                                              I.
    2                                    DEADLINES
    3    Last Day to Add Parties/Amend                  July 6, 2018
    4    Pleadings
         Non-expert Discovery Cut-off                   September 10, 2018
    5
    6    Expert Disclosure (Initial)                    August 31, 2018
    7
         Expert Disclosure (Rebuttal)                   September 21, 2018
    8
    9    Expert Discovery Cut-off                       October 12, 2018

   10    Last Day to Hear Motions                       October 15, 2018
   11
         Last Day to Conduct ADR Proceeding             October 29, 2018
   12
   13    File Memorandum of Contentions of              November 26, 2018
         Fact and Law, Exhibit and Witness
   14    Lists, Status Report regarding
         settlement, and all Motions in Limine
   15    Lodge Pretrial Conference Order, file          December 3, 2018
   16    agreed set of Jury Instructions and
         Verdict forms, file statement regarding
   17    Disputed Instructions and Verdict
         Forms, and file oppositions
   18    Final Pretrial Conference and Hearing          December 17, 2018, at 11:00 a.m.
         on Motions in Limine
   19
         Trial Date (Est. 5-8 Days)                     January 8, 2019, at 8:30 a.m.
   20
   21   ///
   22   ///
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    1         A.     PARTIES/PLEADINGS
    2         The Court has established a cut-off date for adding parties or amending
    3   pleadings. All motions to add parties or to amend the pleadings must be noticed
    4   to be heard on or before the cut-off date. All unserved parties will be dismissed
    5   at the time of the pretrial conference pursuant to Local Rule 16-8.1.
    6         B.     DISCOVERY AND DISCOVERY CUT-OFF
    7         1.     Discovery Cut-off: The Court has established a cut-off date for
    8   discovery, including expert discovery, if applicable. This is not the date by which
    9   discovery requests must be served; it is the date by which all discovery, including
   10   all hearings on any related motions, is to be completed.
   11         2.     Discovery Disputes: Counsel are expected to comply with the
   12   Federal Rules of Civil Procedure and all Local Rules concerning discovery.
   13   Whenever possible, the Court expects counsel to resolve discovery problems
   14   among themselves in a courteous, reasonable and professional manner. The
   15   Court expects that counsel will adhere strictly to the Civility and Professionalism
   16   Guidelines (which can be found on the Court’s website under Attorney
   17   Information, Attorney Admissions).
   18         3.     Discovery Motions: Any motion challenging the adequacy of
   19   discovery responses must be filed, served, and calendared sufficiently in advance
   20   of the discovery cut-off date to permit the responses to be obtained before that
   21   date if the motion is granted.
   22         4.     Depositions: All depositions shall commence sufficiently in advance
   23   of the discovery cut-off date to permit their completion and to permit the
   24   deposing party enough time to bring any discovery motions concerning the
   25   deposition before the cut-off date. Given the requirements to “meet and confer”
   26   and to give notice, in most cases a planned motion to compel must be discussed
   27   with opposing counsel at least six weeks before the cut-off.
   28   ///

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    1         5.        Written Discovery: All interrogatories, requests for production of
    2   documents and requests for admissions must be served sufficiently in advance of
    3   the discovery cut-off date to permit the discovering party enough time to
    4   challenge (via motion practice) responses deemed to be deficient.
    5         6.        Expert Discovery: All disclosures must be made in writing. The
    6   parties should begin expert discovery shortly after the initial designation of
    7   experts. The final pretrial conference and trial dates will not be continued merely
    8   because expert discovery is not completed. Failure to comply with these or any
    9   other orders concerning expert discovery may result in the expert being excluded
   10   as a witness.
   11         C.        LAW AND MOTION
   12         1.        The Court has established a cut-off date for the hearing of motions.
   13   All motions must be noticed so that the hearing takes place on or before the
   14   motion cut-off date. Counsel are advised that the Court may close a hearing date
   15   once the number of motions filed exceeds the maximum number of motions that
   16   reasonably can be heard on that date. Counsel should anticipate that a preferred
   17   hearing date may not be available. Therefore, to avoid being unable to file a
   18   motion to be heard by the cut-off date, counsel should file motions sufficiently in
   19   advance of the hearing cut-off date to ensure that a hearing date is available.
   20         2.        Counsel must provide Chambers with conformed Chambers copies
   21   of all documents. Counsel should consult the Court’s website at
   22   www.cacd.uscourts.gov, Judges’ Procedures and Schedules, Hon. Michael W.
   23   Fitzgerald, for further information regarding Chambers copies and motion
   24   procedures.
   25         D.        SETTLEMENT PROCEDURES
   26         Counsel must complete a settlement conference under the Court-Directed
   27   ADR Program no later than the date set by the Court. If the parties desire to
   28   participate in an ADR procedure other than that elected in the Rule 26(f)

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    1   Scheduling Report and Order, they shall file a stipulation with the Court. This
    2   request will not necessarily be granted.
    3          No case will proceed to trial unless all parties, including the principals of
    4   all corporate parties, have appeared personally at a settlement conference.
    5          E.     FINAL PRETRIAL CONFERENCE
    6          A final pretrial conference date has been set pursuant to Rule 16 of the
    7   Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for good
    8   cause, each party appearing in this action shall be represented at the final pretrial
    9   conference by the lead trial counsel for that party. Counsel should be prepared to
   10   discuss streamlining the trial, including presentation of testimony by deposition
   11   excerpts or summaries, time limits, stipulations as to undisputed facts, and
   12   qualification of experts by admitted resumes.
   13                                              II.
   14                                TRIAL PREPARATION
   15          A.     PRETRIAL DOCUMENTS
   16          1.     All pretrial document copies shall be delivered to the Court “binder-
   17   ready” (three-hole punched on the left side, without blue-backs, and stapled only
   18   in the top left corner).
   19          2.     STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
   20   THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
   21   REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
   22   FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
   23   contentions of fact and law, witness lists, a joint exhibit list, and a proposed final
   24   pretrial conference order shall be submitted in accordance with the Rules, and the
   25   format of the proposed final pretrial conference order shall conform to the format
   26   set forth in Appendix A to the Local Rules. Failure to comply with these
   27   requirements may result in the final pretrial conference being taken off-calendar
   28   or continued, or in other sanctions.

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    1         3.     The filing schedule for pretrial documents is as follows.
    2                a.    At least 21 days before final pretrial conference:
    3                      •      Memorandum of contentions of fact and law
    4                      •      Witness lists
    5                      •      Joint exhibit list
    6                      •      Motions in limine
    7                b.    At least 14 days before final pretrial conference:
    8                      •      Proposed final pretrial conference order
    9                      •      Proposed jury instructions
   10                      •      Proposed verdict forms
   11                      •      Statement of the case
   12                      •      Proposed additional voir dire questions, if desired
   13                      •      Oppositions to motions in limine
   14                c.    At least 7 days before trial:
   15                      •      Trial briefs, if desired
   16         4.     In addition to the requirements of Local Rule 16, the witness lists
   17   must include a brief description (one or two paragraphs) of the testimony and a
   18   time estimate for both direct and cross-examination (separately stated).
   19         B.     MOTIONS IN LIMINE
   20         Each party is limited to five (5) motions in limine, unless the Court grants
   21   leave to file additional motions. All motions and oppositions are limited to ten
   22   (10) pages in length. All motions in limine must be filed at least three weeks
   23   before the final pretrial conference; oppositions must be filed at least two weeks
   24   before the final pretrial conference; reply briefs will not be accepted. Counsel are
   25   to meet and confer with opposing counsel to determine whether opposing counsel
   26   intend to introduce the disputed evidence and to attempt to reach an agreement
   27   that would obviate the motion. The Court will rule on motions in limine at the
   28   final pretrial conference. Motions in limine should address specific issues (e.g.,

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    1   not “to exclude all hearsay”). Motions in limine should not be disguised motions
    2   for summary adjudication of issues.
    3         C.     JURY INSTRUCTIONS, STATEMENT OF THE CASE, AND
    4                VOIR DIRE
    5         1.     Pursuant to Local Rule 16-2, lead trial counsel for each party are
    6   required to meet and confer in person. The Court expects strict compliance with
    7   Local Rule 16-2. Fourteen days before the Local Rule 16-2 meeting, the parties
    8   shall exchange their respective proposed jury instructions and special verdict
    9   forms. Ten days prior to the Local Rule 16-2 meeting, each party shall serve
   10   objections to the other’s instructions and verdict forms. Before or at the Rule 16-
   11   2 meeting, counsel are ordered to meet and confer and attempt to come to
   12   agreement on the proposed jury instructions and verdict forms.
   13         2.     At the time of filing the proposed final pretrial conference order,
   14   counsel shall file with the Court a JOINT set of jury instructions on which there is
   15   agreement. All blanks in standard forms should be filled in. The Court expects
   16   counsel to agree on the substantial majority of jury instructions, particularly when
   17   pattern or model instructions provide a statement of applicable law. If one party
   18   fails to comply with the provisions of this section, the other party must file a
   19   unilateral set of jury instructions.
   20         3.     At the same time, each party shall file its proposed jury instructions
   21   that are objected to by any other party. Each disputed instruction must have
   22   attached a short statement (one or two paragraphs), including points and
   23   authorities, in support of the instruction and a brief statement, including points
   24   and authorities, in support of any objections. If applicable, a proposed alternative
   25   instruction must be provided.
   26         4.     When the Manual of Model Jury Instructions for the Ninth Circuit
   27   provides an applicable jury instruction, the parties should submit the most recent
   28   version, modified and supplemented to fit the circumstances of this case. Where

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    1   California law applies, counsel should use the current edition of the Judicial
    2   Council of California Civil Jury Instructions (“CACI”). If neither is applicable,
    3   counsel should consult the current edition of O’Malley, et al., Federal Jury
    4   Practice and Instructions. Each requested instruction shall (a) cite the authority
    5   or source of the instruction, (b) be set forth in full, (c) be on a separate page, (d)
    6   be numbered, (e) cover only one subject or principle of law, and (f) not repeat
    7   principles of law contained in any other requested instruction.
    8          Counsel may submit alternatives to these instructions only if counsel has a
    9   reasoned argument that they do not properly state the law or they are incomplete.
   10          5.     Counsel must provide the documents described in paragraphs 2 and 3
   11   to the Chambers email box in Word or WordPerfect 9 (or above) format at the
   12   time they file their proposed jury instructions.
   13          6.     The Court will send one or more copies of the instructions into the
   14   jury room for the jury’s use during deliberations. Therefore, in addition to the
   15   copies described above, the Chambers email version must contain a “clean” set of
   16   jury instructions, containing only the text of the instruction (one per page) with
   17   the caption “Instruction No. __” at the top (eliminating titles, supporting
   18   authority, etc.).
   19          7.     Counsel must provide an index of all instructions submitted, which
   20   must include the following:
   21                 a.    the number of the instruction;
   22                 b.    the title of the instruction;
   23                 c.    the source of the instruction and any relevant case citations;
   24                       and
   25                 d.    the page number of the instruction.
   26   ///
   27   ///
   28   ///

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    1   For example:
    2   Number          Title                             Source              Page Number
    3   1               Trademark-Defined                 9th Cir. 8.5.1             1
    4                   (15.U.S.C. § 1127)
    5
    6           8.      During the trial and before argument, the Court will meet with
    7   counsel and settle the instructions, and counsel will have an opportunity to make
    8   a further record concerning their objections.
    9           9.      At the time of filing the proposed final pretrial conference order,
   10   counsel should file a jointly prepared one- or two-page statement of the case to be
   11   read by the Court to the prospective panel of jurors before commencement of voir
   12   dire.
   13           10.     The Court will conduct the voir dire. The Court provides a list of
   14   basic questions, and may provide a list of additional questions to jurors before
   15   voir dire. (This is not a questionnaire to be completed by jurors.) Counsel may,
   16   but are not required to, file and submit (electronically to the Chambers email box
   17   and in paper form) a list of proposed case-specific voir dire questions at the time
   18   they file the proposed final pretrial conference order.
   19           11.     In most cases the Court will conduct its initial voir dire of all
   20   prospective jurors. Generally the Court will select eight jurors.
   21           12.     Each side will have three peremptory challenges. Following the
   22   exercise of all peremptory challenges, the eight jurors in the lowest numbered
   23   seats will be the jury. The Court will not necessarily accept a stipulation to a
   24   challenge for cause. If one or more challenges for cause are accepted, and all six
   25   peremptory challenges are exercised, the Court may decide to proceed with six or
   26   seven jurors.
   27           D.      TRIAL EXHIBITS
   28           1.      Exhibits must be placed in three-ring binders indexed by exhibit

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    1    number with tabs or dividers on the right side. Counsel shall submit to the Court
    2    an original and copy of the binders. The spine portion of the binder shall indicate
    3    the volume number and contain an index of each exhibit included in the volume.
    4          2.     The Court requires that the following be submitted to the Courtroom
    5    Deputy Clerk (“CRD”) on the first day of trial:
    6                 a.     One (set of) binder(s) of original exhibits with the Court’s
    7    exhibit tags, yellow tags for plaintiff and blue tags for defendant, stapled to the
    8    front of the exhibit on the upper right-hand corner with the case number, case
    9    name, and exhibit number placed on each tag.
   10                 b.     Two (sets of) binders with a copy of each exhibit tabbed with
   11    numbers as described above for use by the Court. (Exhibit tags are not necessary
   12    on these copies.)
   13                 c.     Three copies of the party’s (or joint) witness list in the order in
   14    which the witnesses may be called to testify.
   15                 d.     Three copies of the joint exhibit list in the form specified in
   16    Local Rule 16-5 (Civil), which shall also be sent in Word or WordPerfect format
   17    to the Chambers email box no later than noon on the Monday before trial.
   18                 e.     All of the exhibits (except those to be used for impeachment
   19    only), with official exhibit tags attached and bearing the same number shown on
   20    the exhibit list. Exhibit tags may be obtained from the receptionist in the Public
   21    Intake Section, located on the Main Street level of the courthouse at 312 North
   22    Spring Street, Room G-19. Digital exhibit tags are also now available on the
   23    Court's website under Court Forms > General Forms > Form G-14A (Plaintiff)
   24    and G-14B (Defendant). Digital exhibit tags may be used in place of the tags
   25    obtained from the Clerk's Office.
   26          Exhibits shall be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc. The defense
   27    exhibit numbers shall not duplicate plaintiff’s numbers. If a “blow-up” is an
   28    enlargement of an existing exhibit, it shall be designated with the number of the

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    1    original exhibit followed by an “A.” These items (and the items listed in d and e
    2    below) shall be provided on the first day of trial.
    3                 f.     The binder of original exhibits with the Court’s exhibit tags,
    4    yellow tags for plaintiff and blue tags for defendant, stapled to the front of the
    5    exhibit at the upper right-hand corner with the case number, case name, and
    6    exhibit number placed on each tag.
    7                 g.     A three-ring binder containing a copy of all exhibits that can
    8    be reproduced, and a copy of the witness list. Each exhibit shall be tabbed with
    9    the exhibit number for easy referral.
   10                 h.     A three-ring binder containing a copy of all exhibits for use by
   11    witnesses.
   12          3.     A copy of the exhibit list with all admitted exhibits will be given to
   13    the jury during deliberations. Counsel shall review and approve the exhibit list
   14    with the CRD before the list is given to the jury.
   15          4.     Where a significant number of exhibits will be admitted, the Court
   16    encourages counsel, preferably by agreement, to consider ways in which
   17    testimony about exhibits may be made intelligible to the jury while it is being
   18    presented. Counsel should consider such devices as overhead projectors, jury
   19    notebooks for admitted exhibits or enlargements of important exhibits. [The Court
   20    has an Elmo and other equipment available for use during trial.] Information
   21    concerning training on the use of electronic equipment is available. Details are
   22    posted on the Court’s website. To make reservations for training, call 213-894-
   23    3061. The Court does not permit exhibits to be “published” by passing them up
   24    and down the jury box. Exhibits may be displayed briefly using the screens in the
   25    courtroom, unless the process becomes too time-consuming.
   26          5.     All counsel are to meet not later than ten days before trial and to
   27    stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
   28    and to those exhibits that may be received into evidence at the start of the trial.

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    1    The exhibits to be so received will be noted on the Court’s copy of the exhibit list.
    2          E.     COURT REPORTER
    3          Any party requesting special court reporter services for any hearing (i.e.,
    4    real time transmission, daily transcripts) shall notify the reporter at least two
    5    weeks before the hearing date.
    6          F.     JURY TRIAL
    7          1.     On the first day of trial, court will commence at 8:30 a.m. and
    8    conclude at approximately 4:30 p.m. with a one-hour lunch break. On the first
    9    day of trial, counsel must appear at 8:30 a.m. to discuss preliminary matters with
   10    the Court. After the first day of trial, trial days are Tuesday through Friday from
   11    8:30 a.m. to approximately 2:00 p.m. with two twenty-minute breaks.
   12          2.     On the first day of trial, the jury panel will be called when the Court
   13    is satisfied that the matter is ready for trial. Jury selection usually takes only a
   14    few hours. Counsel should be prepared to proceed with opening statements and
   15    witness examination immediately after jury selection.
   16          3.     Counsel shall refer to jurors by number only, not by name.
   17                                              III.
   18                    CONDUCT OF ATTORNEYS AND PARTIES
   19          A.     OPENING STATEMENTS, EXAMINING WITNESSES, AND
   20                 SUMMATION
   21          1.     Counsel must use the lectern.
   22          2.     Counsel must not consume time by writing out words, drawing
   23    charts or diagrams, etc. Counsel may prepare such materials in advance.
   24          B.     OBJECTIONS TO QUESTIONS
   25          1.     Counsel must not use objections for the purpose of making a speech,
   26    recapitulating testimony, or attempting to guide the witness.
   27          2.     When objecting, counsel must rise to state the objection and state
   28    only that counsel objects and the legal ground of objection. If counsel wishes to

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    1    argue an objection further, counsel must ask for permission to do so.
    2          C.     GENERAL DECORUM
    3          1.     Counsel should not approach the CRD or the witness box without
    4    specific permission and must return to the lectern when the purpose for
    5    approaching has been accomplished.
    6          2.     Counsel should rise when addressing the Court, and when the Court
    7    or the jury enters or leaves the courtroom, unless directed otherwise.
    8          3.     Counsel should address all remarks to the Court. Counsel are not to
    9    address the CRD, the court reporter, persons in the audience, or opposing counsel.
   10    If counsel wish to speak with opposing counsel, counsel must ask permission to
   11    do so. Any request for the re-reading of questions or answers shall be addressed
   12    to the Court. Requests may not be granted.
   13          4.     Counsel should not address or refer to witnesses or parties by first
   14    names alone, with the exception of witnesses under 14 years old.
   15          5.     Counsel must not offer a stipulation unless counsel have conferred
   16    with opposing counsel and have verified that the stipulation will be acceptable.
   17          6.     While Court is in session, counsel must not leave counsel table to
   18    confer with any person in the back of the courtroom unless permission has been
   19    granted in advance.
   20          7.     Counsel shall not make facial expressions, nod, or shake their heads,
   21    comment, or otherwise exhibit in any way any agreement, disagreement, or other
   22    opinion or belief concerning the testimony of a witness. Counsel shall admonish
   23    their clients and witnesses not to engage in such conduct.
   24          8.     Counsel should not talk to jurors at all, and should not talk to co-
   25    counsel, opposing counsel, witnesses, or clients where the conversation can be
   26    overheard by jurors. Each counsel should admonish counsel’s own clients and
   27    witnesses to avoid such conduct.
   28          9.     Where a party has more than one lawyer, only one may conduct the

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    1    direct or cross-examination of a particular witness, or make objections as to that
    2    witness.
    3          D.       PROMPTNESS OF COUNSEL AND WITNESSES
    4          1.       Promptness is expected from counsel and witnesses. Once counsel
    5    are engaged in trial, this trial is counsel’s first priority. The Court will not delay
    6    the trial or inconvenience jurors.
    7          2.       If a witness was on the stand at a recess or adjournment, counsel who
    8    called the witness shall ensure the witness is back on the stand and ready to
    9    proceed when trial resumes.
   10          3.       Counsel must notify the CRD in advance if any witness should be
   11    accommodated based on a disability or for other reasons.
   12          4.       No presenting party may be without witnesses. If a party’s
   13    remaining witnesses are not immediately available and there is more than a brief
   14    delay, the Court may deem that party to have rested.
   15          5.       The Court attempts to cooperate with professional witnesses and
   16    will, except in extraordinary circumstances, accommodate them by permitting
   17    them to be called out of sequence. Counsel must anticipate any such possibility
   18    and discuss it with opposing counsel. If there is an objection, counsel must
   19    confer with the Court in advance.
   20          E.       EXHIBITS
   21          1.       Each counsel should keep counsel’s own list of exhibits and should
   22    note when each has been admitted into evidence.
   23          2.       Each counsel is responsible for any exhibits that counsel secures
   24    from the CRD and must return them before leaving the courtroom at the end of
   25    the session.
   26          3.       An exhibit not previously marked should, at the time of its first
   27    mention, be accompanied by a request that it be marked for identification.
   28    Counsel must show a new exhibit to opposing counsel before the court session in

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    1    which it is mentioned.
    2          4.     Counsel are to advise the CRD of any agreements with respect to the
    3    proposed exhibits and as to those exhibits that may be received without further
    4    motion to admit.
    5          5.     When referring to an exhibit, counsel should refer to its exhibit
    6    number. Witnesses should be asked to do the same.
    7          6.     Counsel must not ask witnesses to draw charts or diagrams nor ask
    8    the Court’s permission for a witness to do so. Any graphic aids must be fully
    9    prepared before the court session starts.
   10          F.     DEPOSITIONS
   11          1.     All depositions to be used at trial, either as evidence or for
   12    impeachment, must be lodged with the CRD on the first day of trial or such
   13    earlier date as the Court may order. Counsel should verify with the CRD that the
   14    relevant deposition is in the CRD’s possession.
   15          2.     In using depositions of an adverse party for impeachment, either one
   16    of the following procedures may be adopted:
   17                 a.     If counsel wishes to read the questions and answers as alleged
   18    impeachment and ask the witness no further questions on that subject, counsel
   19    shall first state the page and line where the reading begins and the page and line
   20    where the reading ends, and allow time for any objection. Counsel may then read
   21    the portions of the deposition into the record.
   22                 b.     If counsel wishes to ask the witness further questions on the
   23    subject matter, the deposition shall be placed in front of the witness and the
   24    witness told to read the relevant pages and lines silently. Then counsel may either
   25    ask the witness further questions on the matter and thereafter read the quotations,
   26    or read the quotations and thereafter ask further questions. Counsel should have
   27    an extra copy of the deposition for this purpose.
   28          3.     Where a witness is absent and the witness’s testimony is offered by

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    1    deposition, counsel may (a) have a reader occupy the witness chair and read the
    2    testimony of the witness while the examining lawyer asks the questions, or (b)
    3    have counsel read both the questions and answers.
    4          G.     USING NUMEROUS ANSWERS TO INTERROGATORIES AND
    5                 REQUESTS FOR ADMISSIONS
    6          Whenever counsel expects to offer a group of answers to interrogatories or
    7    requests for admissions extracted from one or more lengthy documents, counsel
    8    should prepare a new document listing each question and answer and identifying
    9    the document from which it has been extracted. Copies of this new document
   10    should be given to the Court and opposing counsel.
   11          H.     ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
   12          If any counsel have reason to anticipate that a difficult question of law or
   13    evidence will necessitate legal argument requiring research or briefing, counsel
   14    must give the Court advance notice. Counsel are directed to notify the CRD at
   15    the day’s adjournment if an unexpected legal issue arises that could not have been
   16    foreseen and addressed by a motion in limine. See Fed. R. Evid. 103. Counsel
   17    must also advise the CRD at the end of each trial day of any issues that must be
   18    addressed outside the presence of the jury, so that there is no interruption of the
   19    trial. THE COURT WILL NOT KEEP JURORS WAITING.
   20
   21          N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES
   22    PARTIES APPEARING IN PROPRIA PERSONA.
   23
   24          IT IS SO ORDERED.
   25
   26    Dated: July 3, 2018                     __________________________________
                                                 MICHAEL W. FITZGERALD
   27                                            United States District Judge
   28

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    7                       UNITED STATES DISTRICT COURT
    8                      CENTRAL DISTRICT OF CALIFORNIA
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   10                                   )         CASE NO. CV          -MWF( x)
                                        )
   11                   Plaintiff(s),   )         EXHIBIT LIST
                                        )
   12         v.                        )             SAMPLE FORMAT
                                        )
   13                                   )
                                        )
   14                   Defendant(s).   )
         ______________________________ )
   15
   16     EX. No. DESCRIPTION                  IDENTIFIED        ADMITTED
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    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11                                   )         CASE NO. CV               -MWF( x)
                                        )
   12                   Plaintiff(s),   )         WITNESS LIST
                                        )
   13         v.                        )              SAMPLE FORMAT
                                        )
   14                                   )
                                        )
   15                   Defendant(s).   )
         ______________________________ )
   16
   17                                                DATES OF TESTIMONY
            WITNESSES FOR PLAINTIFF
   18
                                               (to be filled in during trial)
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   22      WITNESSES FOR DEFENDANT
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